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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CHRISTIAN ARMAN GHORBANI;
CHALET HOUSE, LLC,

                                Plaintiffs,
                                                                 20-CV-7875 (CM)
                    -against-                                   CIVIL JUDGMENT
GOLDMAN SACHS,

                                Defendant.

         Pursuant to the order issued November 5, 2020, dismissing the complaint,

         IT IS ORDERED, ADJUDGED AND DECREED that the complaint is dismissed under

28 U.S.C. § 1915(e)(2)(B)(i).

         The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from the Court’s

judgment would not be taken in good faith.

         IT IS FURTHER ORDERED that the Clerk of Court mail a copy of this judgment to

Plaintiff and note service on the docket.

SO ORDERED.

Dated:     November 5, 2020
           New York, New York

                                                          COLLEEN McMAHON
                                                      Chief United States District Judge
